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                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MASSACHUSETTS

DEBORAH LAUFER, Individually,           :
                                        :
             Plaintiff,                 :
                                        :
v.                                      :           Case No. 3:20-cv-30033-KAR
                                        :
THE LENOX INN, INC., a Massachusetts    :
Corporation,                            :
                                        :
             Defendant.                 :
_______________________________________ :
                                        :
                                        :

                  VOLUNTARY DISMISSAL WITHOUT PREJUDICE

NOTICE IS HEREBY GIVEN that pursuant to Federal Rules of Civil Procedure 41(a),
Plaintiff Deborah Laufer voluntarily dismisses without prejudice the above-entitled action
against Defendant The Lenox Inn, Inc. This notice of dismissal is being filed with the Court
before service by Defendant of either an answer or a motion for summary judgment.


                                           Respectfully Submitted,

May 15, 2020                               NJC Law, P.C.
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                                           By:____________________________
                                               Nicholas J. Carbone, Esq.
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